     Case 4:20-cr-02099-SHR-LCK Document 99 Filed 12/02/21 Page 1 of 7



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 6                         IN THE UNITED STATES DISTRICT COURT
 7                                  FOR THE DISTRICT OF ARIZONA
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 9    United States of America,                       No. CR-20-02099-001-TUC-SHR (LCK)
10                     Plaintiff,                     Order    Re:            Report        and
                                                      Recommendation
11    v.
12    Mario Pastor Buelna,
13                     Defendant.
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15
                Pending before the Court is a Report and Recommendation (“R&R”) (Doc. 92)
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     issued by United States Magistrate Judge Lynette C. Kimmins recommending the Court
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     grant Defendant’s Motion to Suppress Pretrial Identification (Doc. 72). The Government
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     has filed an Objection (Doc. 95). For the reasons that follow, the Government’s Objections
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     are well-taken and the Court will deny Defendant’s Motion to Suppress.
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           I.      Standard of Review
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                When reviewing a magistrate judge’s R&R, this Court “may accept, reject, or
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     modify, in whole or in part, the findings or recommendations made by the magistrate
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     judge.” 28 U.S.C. § 636(b)(1). “[T]he district judge must review the magistrate judge’s
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     findings and recommendations de novo if objection is made, but not otherwise.” United
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     States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003) (en banc) (emphasis in
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     original). However, Objections to R&Rs “are not to be construed as a second opportunity
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     to present the arguments already considered by the Magistrate Judge.” Betancourt v. Ace
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     Ins. Co. of Puerto Rico, 313 F. Supp. 2d 32, 34 (D.P.R. 2004); see also Camardo v. Gen.
     Case 4:20-cr-02099-SHR-LCK Document 99 Filed 12/02/21 Page 2 of 7



 1   Motors Hourly-Rate Emps. Pension Plan, 806 F. Supp. 380, 382 (W.D.N.Y. 1992) (“The
 2   purpose of the Federal Magistrates Act is to relieve courts of unnecessary work” and
 3   “[t]here is no increase in efficiency, and much extra work, when a party attempts to
 4   relitigate every argument which it presented to the Magistrate Judge.”).
 5      II.       Background
 6            The Government does not object to, and this Court adopts, the following facts as set
 7   forth in the R&R:
 8                           Adrian Martinez is a U.S. Border Patrol field agent
                     with his main area of patrol in Douglas, Arizona. (RT at 5-6.)1
 9                   Agent Martinez received training on tracking, processing, and
10                   other duties at the Federal Law Enforcement Training Center.
                     (Id. at 6.)
11                           On May 22, 2020, at approximately 1:50 p.m., Agent
12                   Martinez was in his marked Border Patrol vehicle patrolling
                     Geronimo Trail, a two-lane road approximately one half-mile
13                   from the International Border Fence (IBF) (Id. at 6, 8, 20.)
14                   Geronimo Trail is a somewhat maintained dirt and rocky road.
                     Typically, this road is used by ranchers, not the public;
15                   however, during this time, there were construction vehicles
16                   and workers due to the building of the border wall. (Id. at 7.)
                     Agent Martinez was notified by another agent that there was
17                   a white S-10 Chevrolet small pick-up truck parked near the
                     IBF in a location that was not designated for construction
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                     vehicles. (Id. at 7-8.) Finding a vehicle so close to the IBF was
19                   unusual because the construction workers were specifically
                     told not to park next to the fence. (Id.)
20
                             At approximately 2:45 p.m., Border Patrol horse units
21                   advised that the white S-10 truck was driving westbound on
                     Geronimo Trail towards Douglas. (Id. at 8.) Agent Martinez
22                   was near mile marker 12, facing eastbound on Geronimo Trail
23                   as the S-10 truck passed him. Agent Martinez admitted that,
                     as the driver passed, he did not have a good enough look to
24                   describe or identify the driver. (Id. at 21.) The agent made a
25                   U-turn in an attempt to get behind the S-10 truck. By the time
                     he turned, the S-10 truck had increased its speed to
26                   approximately 50 miles per hour. (Id. at 9.)
27                           At approximately mile marker 9.5, the S-10 truck

28          RT” refers to the Reporter’s Transcript of the October 4, 2021 evidentiary hearing.
              1
     (Doc. 91.)

                                                   -2-
     Case 4:20-cr-02099-SHR-LCK Document 99 Filed 12/02/21 Page 3 of 7



 1               slowed down, which allowed Agent Martinez to catch up. (Id.
 2               at 9-10.) At mile marker 9.1, another Border Patrol vehicle
                 became visible on the road ahead. (Id. at 10.) At that location,
 3               the S-10 truck took a sharp left-hand turn onto a road traveling
                 south towards the IBF. (Id. at 10.) The S-10 truck was a little
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                 less than half a mile from the border traveling at speeds of 50-
 5               55 miles per hour, which Agent Martinez indicated was
                 excessive because the road was dirt and not maintained, with
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                 a lot of dips and humps. (Id. at 11, 23.) Agent Martinez
 7               continued to pursue the S-10 truck but backed off a little due
                 to his concern for construction workers in the area. (Id. at 11-
 8               12, 22.) At the end of the road, the S-10 truck took another
 9               left-hand turn, doubling back, now traveling at approximately
                 70 miles per hour on a straight-away part of the road that
10               paralleled the IBF. This pursuit continued to approximately
11               mile marker 13. The IBF in this area consisted of various gaps
                 or spaces large enough for a vehicle to pass through. (Id. at
12               11-12, 22-23.) The S-10 truck started to slow down to
13               approximately 35 miles per hour near a large wash where
                 there was no fencing, and it eventually stopped near the IBF
14               between a gap and the start of the fence. Agent Martinez
15               stopped directly behind the S-10 truck. (Id. at 12, 24.)
                         The driver of the S-10 truck opened his door and
16               proceeded on foot towards Mexico. As the driver left the
                 truck, he directed his eyesight towards the agent. Agent
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                 Martinez did not follow the driver because he was so close to
18               Mexico. Agent Martinez indicated he was approximately a
                 half-car length from the driver and was able to see him for no
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                 more than 10-15 seconds. (Id. at 13.) Agent Martinez clarified
20               that, at the beginning of his 10-15 seconds of viewing time, he
                 was in his vehicle but proceeded to get out of his vehicle,
21               staying near the door frame; the driver was briskly walking
22               towards Mexico while periodically looking back. (Id. at 13,
                 24-25, 31.) Agent Martinez testified that he had a “pretty good
23               view of the driver” until he went into the desert brush. (Id. at
24               14.) The agent admitted that the driver was not staring directly
                 at him for any extended amount of time, and he did not have
25               a very long visual as the brush and trees obscured his view.
26               His only good visual of the driver was the 10-15 seconds from
                 when he stopped the vehicle, got out, and walked briskly to
27               the IBF before reaching the obstructing brush. (Id. at 14, 26.)
28               The only features Agent Martinez described were that the
                 driver was not very tall, not skinny, of above-average build,


                                               -3-
     Case 4:20-cr-02099-SHR-LCK Document 99 Filed 12/02/21 Page 4 of 7



 1                 and had a noticeable goatee. (Id. at 14-15, 26.) Agent Martinez
 2                 admits that he could not provide any other physical descriptors
                   of the driver, such as hair or eye color, and that the goatee was
 3                 the only somewhat distinguishable trait. (Id. at 29.)
                           After the driver absconded, Agent Martinez secured
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                   the S-10 truck and went to the station to process the marijuana
 5                 found in the truck and to write his narrative report. (Id. at 15.)
                   During this time, Agent Martinez was able to determine that
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                   the registered owner of the S-10 truck was Defendant Mario
 7                 Buelna. While Agent Martinez was writing his report, an
                   individual from the Border Patrol intel department brought
 8                 over a single photograph and asked Agent Martinez if it was
 9                 the driver of the S-10 truck. (Id. at 15, 28, 31; Exhibit 1.)
                   Agent Martinez believed it was most likely a driver’s license
10                 picture. (Id. at 15.) He identified the individual in the photo as
11                 the driver of the S-10 truck that he saw abscond into Mexico.
                   At the hearing, Agent Martinez verified that the photo was
12                 from the driver’s license of the registered owner of the
13                 vehicle, Defendant Buelna. (Id. at 16.) Agent Martinez did not
                   include a detailed description of the driver in his notes or
14                 report. (Id. at 27.)
15                         The following day, on May 23, 2020, Agent Martinez
                   was notified that Defendant Buelna, the registered owner of
16                 the S-10 truck, had been detained at the Port of Entry and
                   taken to the Douglas Border Patrol station for an interview.
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                   (Id. at 16.) Agent Martinez went to the station and saw
18                 Defendant, who was being held alone in an isolation cell. The
                   agent, again, identified Defendant Buelna as the individual he
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                   saw abscond into Mexico the previous day. (Id. at 16-17, 29,
20                 31.)2
21   On October 4, 2021, Magistrate Judge Kimmins held a hearing on the Motion to Suppress
22   Pretrial Identification. (Doc. 83.) Following the hearing, Magistrate Judge Kimmins
23   concluded the identification procedure used was unnecessarily suggestive and, after
24   considering the factors set forth in Neil v. Biggers, 409 U.S. 188, 201 (1972), concluded
25   that, based on the totality of the circumstances, the unnecessarily suggestive identification
26   procedure created a substantial likelihood of irreparable misidentification.3 (Doc. 92.)
27          2
              Agent Martinez also made an in-court identification of Defendant Buelna during
     the evidentiary hearing. (RT at 17.)
28          3
              Courts use “impermissibly,” “unnecessarily,” and “unduly” suggestive
     interchangeably. All of these terms “reinforce our focus not on the act of suggestion, but

                                                  -4-
     Case 4:20-cr-02099-SHR-LCK Document 99 Filed 12/02/21 Page 5 of 7



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 2      III.   Discussion
            As noted, the Government does not object to the factual findings in the R&R, but
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     objects to the Magistrate Judge’s legal findings.       (Doc. 95 at 1.)     Specifically, the
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     Government argues the identification procedure used was not impermissibly suggestive.
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     The Government further asserts that even if the procedure was impermissibly suggestive,
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     the identification was nonetheless reliable and therefore should not be suppressed.
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            As explained by the Magistrate Judge, an identification procedure is suggestive
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     when it “emphasize[s] the focus upon a single individual.” U.S. v. Montgomery, 150 F.3d
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     983, 992 (9th Cir. 1998). However, “a suggestive pretrial identification procedure does
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     not violate due process when use of the procedure is ‘imperative.’” Id. (citing Stovall v.
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     Denno, 388 U.S.293, 301–02 (1967)). The Ninth Circuit has read Stovall to mean “that an
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     identification procedure is unnecessarily suggestive when its use is not imperative.” Id. In
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     Montgomery, the Ninth Circuit concluded that showing a witness only one photograph
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     when asking him to identify the suspect was unnecessarily suggestive because the record
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     was “devoid of any indication” that the suggestive identification procedure was imperative,
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     the initial photo identification by the witness occurred one year after the crime, the
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     government had “ample time to prepare a non-suggestive photographic array,” and the
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     photo and subsequent in-court identifications “were not compelled by any exigent
19   circumstances.” Id. Accordingly, the Ninth Circuit concluded the identification procedure
20   was unnecessarily suggestive and went on to consider whether the witness’s subsequent
21   in-court identification was sufficiently reliable under the totality of the circumstances. Id.
22          As in Montgomery, the witness here—Agent Martinez, was shown only one photo
23   of the suspect and identified the defendant as the person in the photo.            Also like
24   Montgomery, there is nothing in the record suggesting this identification procedure was
25   imperative. Although the photo identification here took place on the same day as the
26   offense, nothing in the record suggests the identification was compelled by exigent
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28   on whether the suggestiveness rises to such a level that it undermines reliability.” Perry v.
     New Hampshire, 565 U.S. 228, 254 n.3 (2012).

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     Case 4:20-cr-02099-SHR-LCK Document 99 Filed 12/02/21 Page 6 of 7



 1   circumstances. Therefore, based on the Ninth Circuit’s reading of Stovall and its analysis
 2   in Montgomery, the Court concludes the identification procedure used here was
 3   unnecessarily suggestive.
 4          However, even when police use an unnecessarily suggestive identification
 5   procedure, “suppression of the resulting identification is not the inevitable consequence.”
 6   Perry v. New Hampshire, 565 U.S. 228, 239 (2012); see also Montgomery, 150 F.3d at
 7   993; United States v. Bagley, 772 F.2d 482, 492 (9th Cir. 1985) (“Should we find a pretrial
 8   procedure impermissibly suggestive, automatic exclusion of identification testimony is not
 9   required.”). Rather, due process requires courts to “assess, on a case-by-case basis,
10   whether improper police conduct created a ‘substantial likelihood of misidentification.’”
11   Perry, 565 U.S at 239. Because “reliability is the linchpin in determining the admissibility

12   of identification testimony,” Manson v. Brathwaite, 432 U.S. 98, 114 (1977), the question

13   is whether, under the totality of the circumstances, the identification was reliable despite

14   the suggestive procedure, Biggers, 409 U.S. at 199. In evaluating the likelihood of

15   misidentification, courts consider the following factors:

16                 the opportunity of the witness to view the criminal at the time
                   of the crime, the witness’ degree of attention, the accuracy of
17                 the witness’ prior description of the criminal, the level of
                   certainty demonstrated by the witness at the confrontation, and
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                   the length of time between the crime and the confrontation.
19   Id. at 199–200. “Where the ‘indicators of [a witness’] ability to make an accurate
20   identification’ are ‘outweighed by the corrupting effect’ of law enforcement suggestion,
21   the identification should be suppressed.” Perry, 565 U.S. at 239 (quoting Brathwaite, 432
22   U.S. at 116). “Otherwise, the evidence (if admissible in all other respects) should be
23   submitted to the jury.” Id.
24          Having concluded the identification procedure used here was unnecessarily
25   suggestive, the Court now applies the Biggers factors and weighs the facts against the
26   corrupting effect of the suggestive procedure. Here, Agent Martinez viewed the suspect
27   for 10 to 15 seconds from half a car’s length away, in broad daylight. (RT p. 13.) Agent
28   Martinez testified he “had a pretty good view” of the suspect as he watched him exit his


                                                 -6-
     Case 4:20-cr-02099-SHR-LCK Document 99 Filed 12/02/21 Page 7 of 7



 1   truck and “brisk[ly]” walk towards the international border, and his view was unobstructed
 2   until the suspect moved behind brush. (Id. at 14.) During this 10–15 seconds, the suspect
 3   looked back and forward repeatedly, and Agent Martinez testified the suspect “[m]ost of
 4   the time was looking back,” although he was not starting directly at Agent Martinez. (Id.
 5   at 25–26.) Although Agent Martinez exited his vehicle while he was watching the suspect,
 6   there is no indication from the record that doing so diverted or hindered his attention in
 7   watching the suspect. Agent Martinez did not provide a detailed description of the suspect
 8   in his report because when he had returned to the station and was writing his report, another
 9   agent showed him what appeared to be a driver’s license photo of the registered owner of
10   the truck, who Agent Martinez identified as the suspect. (RT pp. 15, 27.) Nonetheless,
11   Agent Martinez demonstrated certainty about Defendant’s identification at the hearing held

12   before the Magistrate Judge. Finally, the photo identification occurred at most a few hours

13   after the crime, and the in-person identification at the Douglas Border Patrol station

14   occurred the day after the crime.

15          Based on the totality of the circumstances, the Court concludes the Biggers factors

16   here weigh in favor of a reliable identification and are not outweighed by any corrupting
     effect of the suggestive identification procedure.
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            Accordingly,
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            IT IS ORDERED the Magistrate Judge’s Report and Recommendation (Doc. 92)
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     is adopted in-part and rejected in-part.
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            IT IS FURTHER ORDERED Defendant’s Motion to Suppress Pretrial
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     Identification (Doc. 72) is denied.
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            Dated this 2nd day of December, 2021.
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